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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

IARNACH TECHNOLOGIES LTD.,

                             Plaintiff,
v.

CHARTER COMMUNICATIONS, INC.,                   Civil Action No. 2:24-cv-00230-JRG
CHARTER COMMUNICATIONS HOLDING
COMPANY, LLC, CHARTER                           JURY TRIAL DEMANDED
COMMUNICATIONS OPERATING, LLC,
SPECTRUM MANAGEMENT HOLDING
COMPANY, LLC, and SPECTRUM GULF
COAST, LLC,

                             Defendants.

        ORDER GRANTING PLAINTIFF IARNACH TECHNOLOGIES LTD.’S
        MOTION TO COMPEL DOCUMENT PRODUCTION UNDER P. R. 3-4(a)


        Before the Court is Plaintiff Iarnach Technologies Ltd.’s Motion to Compel Document

Production Under P.R. 3-4(a) (the “Motion”). The Court, having considered the Motion, hereby

GRANTS this motion. Defendants shall produce all source code, scripts, and other technical

documentation describing how Charter implements the Accused Instrumentalities within seven (7)

days.

        IT IS SO ORDERED.
